THE HANOVER INSURANCE                       §                  CLE~~~~J''~_¥/~~~
COMPANY,                                    §                             t.k   ~'ii\
                                            §
       Plaintiffs,                          §
                                            §
v.                                          §       Civil Action No. 4:18-cv-832-A
                                            §
ORYX OILFIELD HOLDINGS, LLC,                §
KODIAK TRENCHING AND BORING,                §
LLC, KODIAK RENTAL AND SUPPLY,              §
LLC, KODIAK TESTING, LLC, ORYX              §
OILFIELD SERVICES, LLC, KODIAK              §
EXCAVATION AND UTILITIES, LLC,              §
MATTHEW J. MAHONE, and LEIGH                §
ANNE MAHONE,                                §
                                            §
       Defendants.                          §

                                JOINT STATUS REPORT

       Plaintiff The Hanover Insurance Company ("Hanover'') and Defendants Oryx

Oilfield Holdings, LLC, Kodiak Trenching and Boring, LLC, Kodiak Rental and Supply,

LLC, Kodiak Testing, LLC, Oryx Oilfield Services, LLC, Kodiak Excavation and Utilities,

LLC, Matthew J. Mahone, and Leigh Anne Mahone (collectively referred to as the

"lndemnitors") (together, Hanover and the lndemnitors are the "Parties"), by and through

their counsel of record, hereby submit this Joint Status Report to comply with the

Court's Status Report Order dated November 9, 2018 (the "Order"). Pursuant to the

Order, this Joint Status Report also complies with the requirements of FED. R. CIV. P.

26(f). The Parties state as follows:




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      1.       A brief statement of the nature of the case, including the contentions
               of the parties.

      This is a case between a surety (Hanover) and its indemnitors (the lndemnitors)

arising from an indemnity agreement executed by the lndemnitors, surety bonds issued

by Hanover on several construction projects, and payments made by Hanover relating

to the construction projects. Hanover has asserted seven causes of action including: (1)

Money Had and Received; (2) Breach of Indemnity Agreement; (3) Common Law

Indemnification; (4) Breach of Fiduciary Duty; (5) Exoneration; (6) Attorneys' Fees; and

(7) Costs and Interest. All claims are currently pending before the Court. The

lndemnitors have raised defenses to Hanover's claims including contending that

Hanover issued certain bonds without authority, and without the knowledge and consent

of, the applicable Indemnitor named as principal on the bond, and that Hanover failed to

provide financial assistance to Kodiak Trenching and Boring, LLC and Kodiak

Excavation and Utilities, LLC in accordance with their alleged agreement.

      2.       Any challenge to jurisdiction or venue.

       None.

       3.      Any pending motions (including the dates of filing of motions and
               responses), an estimate of time needed to file any contemplated
               motions and a description of anticipated motions.

       Hanover currently has a pending application for a preliminary injunction and other

equitable relief. Hanover has asked the Court in its application to enjoin the lndemnitors

from: (1) failing to preserve assets; and (2) hiding or otherwise destroying evidence that

may relate to the business of the lndemnitors. Furthermore, Hanover has asked the

Court to enforce certain provisions of the Indemnity Agreement and order the

lndemnitors to: (1) allow Hanover to inspect their books and records including providing



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an accounting of all contract funds received by the lndemnitors after transmission of the

Letters of Direction; and (2) within ten (1 O) days after the issuance of an order deposit a

sum of $7,400,000 in cash or its equivalent as collateral. However, in the event the case

is temporarily stayed as requested by the Parties, Hanover does not seek an immediate

hearing on such request for equitable relief but reserves the right to so in the future.

       In the event the Parties are unable to resolve their dispute through the process

the Parties have discussed (described further herein), Hanover anticipates it will file a

motion for summary judgment after conducting initial discovery seeking summary

judgment on all its claims arising from the indemnity agreement.

       To the extent the Court would like a formal motion to stay this case until March

15, 2019, as opposed to the agreement of the parties herein, then an agreed motion to

stay will be filed.

       4.       Any matters which require a conference with the Court.

        None.

       5.       Likelihood that other parties will be joined, identities of potential
                parties and an estimate of the time needed for joinder of such
                parties.

        At this time, Hanover does not anticipate joinder of any additional parties.

       6.       Requested trial date, estimated length of trial, and whether jury has
                been demanded.

       The Parties request a trial date in March 2020. The Parties estimate they will

need five (5) days for trial. No jury has been demanded.




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      7.     A report concerning the settlement conference                and   related
             settlement matters as contemplated by this order.

             A.       State when the parties participated in the settlement
                      conference and the persons who were present, including the
                      capacity of the representatives who were present.

      The Parties participated in a settlement conference on Friday, November 30,

2018. For Hanover, the following individuals were in attendance:

                         Christopher R. Ward, lead counsel for Hanover; and

                         Joe Brenstrom, Lead Surety Claim Representative for Hanover.

For the lndemnitors, the following individuals were in attendance.

                         J.P. Vogel, Gene Besen and Russell E. Jumper, counsel for

                         the lndemnitors;

                         Matthew J. Mahone, managing member of Oryx Oilfield

                         Holdings, LLC, Kodiak Trenching and Boring, LLC, Kodiak

                         Rental and Supply, LLC, Kodiak Testing, LLC, Oryx Oilfield

                         Services, LLC, and Kodiak Excavation and Utilities, LLC;

                         Leigh Anne Mahone; and

                         Bobby Barwick, Darren Miles, and James Lary, of Oryx Oilfield

                         Services, LLC, attended a portion of the meeting to assist in

                         communications regarding one aspect of potential settlement.

              B.      State whether meaningful progress toward settlement was
                      made.

       Although a final settlement was not reached during the settlement conference,

the Parties made meaningful progress identifying issues in dispute and formulating a

process to increase the likelihood of a settlement in the future. The process agreed

upon by the Parties at their conference is centered on allowing the lndemnitors to


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complete the remaining bonded projects underlying Hanover's claims. This will allow the

lndemnitors to focus their resources and efforts on completing those projects, without

simultaneously having to contend with this litigation and its associated litigation costs.

Furthermore, Hanover's overall claimed loss cannot be fully determined until the

lndemnitors complete all of the bonded projects. By allowing the lndemnitors to

complete those projects, and by avoiding incurring immediate litigation costs, the

Parties believe they can make progress toward potentially resolving the entire dispute in

the future, but at the very least may be able to resolve certain identifiable issues in

dispute and limit the issues to be tried. The parties also made progress on how they

could exchange information that could help future settlement discussions.

       To facilitate this process agreed upon by the Parties, the Parties agreed to ask

the Court to stay this proceeding until March 15, 2019. Should such stay be granted by

the Court, the Parties have agreed that the deadline to amend their respective

pleadings and bring any other claims would similarly be tolled until March 29, 2019. To

allow time for the Court's consideration of the request for stay, Hanover consented to

Defendants' filing an amended answer pursuant to FED. R. C1v. P. 15, which answer

may include counterclaims, on or before January 11, 2019. In the event Hanover or the

lndemnitors decide to restart this litigation prior to March 15, 2019, the Parties have

agreed they can do so by providing five (5) days' written notice to the opposing party

then providing notice to the Court requesting the Court lift the stay. Assuming no party

has already sought to lift the stay before March 15, 2019, the Parties have also agreed

they will attend mediation on or before March 15, 2019, to again attempt to resolve this

dispute or portions of this dispute before fully restarting this litigation.




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              C.      Provide a statement regarding the prospects of settlement.

       It is unclear at this time whether settlement will be reached in this case, but the

Parties believe the prospects of such a settlement will be increased by staying this

proceeding until March 15, 2019, to allow the lndemnitors the opportunity to complete

the remaining bonded projects.

       8.     A discovery plan as contemplated by Rule 26(f)(3) of the Federal
              Rules of Civil Procedure.

              A.      What changes should be made in the timing, form, or
                      requirement for disclosures under 26(a), including a statement
                      of when initial disclosures were made or will be made:

       The Parties stipulate pursuant to FED. R. C1v. P. 26(a)(1)(C) that their Initial

Disclosures shall be due within 14 days after this case resumes following a stay.

Otherwise, should the Court deny the Parties' request to stay this case, the Parties

stipulate pursuant to FED. R. C1v. P. 26(a)(1 )(C) that their Initial Disclosures shall be due

14 days a:fter the hearing, conference, or other setting where the Court denies the

Parties' request to stay this case.

              B.      The subjects on which discovery may be needed, when
                      discovery should be completed, and whether discovery should
                      be conducted in phases or be limited to or focused on
                      particular issues:

       The Parties anticipate discovery will be needed on the essential elements of

Hanover's claims and the basis for the lndemnitors' defenses to those claims. Should

future claims or defenses be asserted, the Parties anticipate they will need to conduct

discovery on those issues as well. In light of the Parties' request that this case be

stayed until March 15, 2019, the Parties suggest that discovery should be completed on

or before Monday December 23, 2019. At this point in time, the Parties do not anticipate

that phased discovery will be needed and do not currently think discovery needs to be


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limited or focused beyond the requirements already set in the Federal Rules of Civil

Procedure and Federal Rules of Evidence.

              C.      Any issues about disclosure, discovery, or preservation of
                      electronically stored information, including the form or forms
                      in which it should be produced:

      The Parties agree that when producing documents originating from ESI1 care

should be taken to ensure that the production provides the receiving party with a

reasonable ability to search and filter the documents based on the text and metadata

that was available in the ordinary course of business. The detailed production format

outlined below is an industry standard format and is preferred. The fact that images of

documents are produced means that documents can be numbered and the number can

be permanently "endorsed" onto the image. Native files are requested and produced for

specified file types such as spreadsheets or database files where a review of the image

is not helpful. If good cause exists to request production of certain files, other than those

specifically set forth above, in native format, the party may request such production and

provide an explanation of the need for native file review, which request shall not

unreasonably be denied. A party is required to produce only a single copy of a

responsive document and a party shall make best reasonable efforts to de-duplicate

responsive ESJ (based on MD5 or SHA-1 hash values at the document level) across

Custodians. For emails with attachments, the hash value is generated based on the

parent/child document grouping. A party may also de-duplicate "near-duplicate" email

threads as follows: In an email thread, only the final-in-time document need be

produced, assuming that all previous emails in the thread are contained within the final

message. Where a prior email contains an attachment, that email and attachment shall

not be removed as a "near-duplicate." To the extent that de-duplication through MD5 or


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SHA-1 hash values is not possible, the parties shall meet and confer to discuss any

other proposed method of de- duplication. Finally, industry standard load files shall be

included that provide metadata for sorting the documents based on senders, dates, etc.,

and the text extracted from the ESI is provided for full content searching. Below is the

specific protocol agreed upon by the Parties:

                           Emails, should be produced as single page tiff image files

                           (JPEG is fine for color documents) and named per

                           sequential production numbers. E.g., PR000001.tif.

                           Attachments should be produced as single page tiff image

                           files (JPEG is fine for color documents) and named per

                           sequential production numbers following their parent email.

                           E.g., PR000002.tif.

                           Documents that exist only in hard copy format shall be

                           scanned and produced as single page Group IV TIFFs, with

                           at least 300 dots per inch (dpi). Each TIFF image shall be

                           named according to a unique corresponding bates number

                           associated with the document. Each image shall be branded

                           according to the Bates number and the agreed upon

                           Confidentiality designation. TIFFs shall show all text and

                           images that would be visible to a user of the hard copy

                           documents. The parties will accommodate reasonable

                           requests for production of specific images in color. In

                           scanning hard copy documents, distinct documents should




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                      not be merged into a single record, and single documents

                      should not be split into multiple records (i.e., hard copy

                      documents should be logically unitized). The parties will use

                      reasonable efforts to unitize documents correctly.

                      A commercially acceptable technology for optical character

                      recognition "OCR" shall be used for all scanned, hard copy

                      documents. OCR text shall be provided as a single multi-

                      page text file for each document, and the filename should

                      match its respective TIFF filename. The text files will not

                      contain the redacted portions of the documents.

                      Electronic files should be produced as single page TIFF

                      image files (JPEG is fine for color documents) and named

                      per sequential production numbers. E.g., PR000003.tif.

                      If documents are produced containing redacted information,

                      an electronic copy of the original, unredacted data shall be

                      securely preserved in such a manner so as to preserve

                      without modification, alteration or addition the content of

                      such data including any metadata.

                      The extracted text from the native files should be produced

                      in document level text files using the same naming scheme

                      as the file from      which the text     was extracted       ex.

                      PR000001.txt.




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                      All produced images should be endorsed with the production

                      "Bates    number"     and     "Confidentiality designation"      and

                      delivered in a unique folder preferably named based on the

                      production date (E.g., PR20170417). Subfolders (001, 002

                      etc.) should be utilized to keep the number of files per folder

                      under 1000 files.

                      Microsoft Access files, Excel files, media files and any

                      Documents with embedded formulas should be produced

                      natively with an image placeholder for the next Bates

                      number and Confidentiality designation. The native file

                      version should use the same naming convention as the other

                      tiff image files. So an excel spreadsheet would produce as:

                      PR000004 Confidential.xlsx.

                      A delimited text file should be produced which contains

                      metadata extracted          from   the   native   files   and   cross

                      referenced to the beginning production number used to

                      name the image files. Data provided should include but is

                      not limited to the following:

                      o        Begdoc#

                      0        Enddoc#

                      0        Begattach#

                      0        Endattach#

                      0        Email Subject




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                      0   Date sent

                      0   Date received

                      0   Time Sent

                      0   Time Received

                      0   To (Display Name)

                      0   From (Display name)

                      0   Cc (Display name)

                      0   Bee (Display name)

                      0   To (EMAIL ADDRESS)

                      0   FROM (EMAIL ADDRESS)

                      0   CC (EMAIL ADDRESS)

                      0   BCC (EMAIL ADDRESS)

                      0   Filename

                      0   Author

                      0   Company

                      0   Date created

                      0   Date modified

                      0   File extension

                      0   Original Folder

                      0   Md5hash

                      0   Custodian

                      0   Native file path

                      0   Text File path




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                           0      Confidentiality

                           0      Volume

                           0      Pages

                           0      Message ID

                           0      References

                           0      Redacted

                           An image load file should be produced in .LFP, .DII or .OPT

                           format to load the single page tiff images. The image load

                           file should do the following:

                           o      Accurately define the document breaks that existed in

                                  the native files prior to converting them to tiff image

                                  format for production.

                           o      Establish Parent/child relationships in the case of

                                  email.

                            o     Contain accurate path information based on the folder

                                  structure containing the produced images.

               D.     Any issues about claims of privilege or protection as trial-
                      preparation materials, including-if the parties agree on a
                      procedure to assert these claims after production-whether to
                      ask the court to include their agreement in an order under
                      Federal Rule of Evidence 502.

       None.

               E.     What changes should be made in the limitations on discovery
                      imposed under these rules or by local rule, and what other
                      limitations should be imposed.

       None.




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                 F.    Any other orders that the court should issue under Rule 26(c)
                       or under Rule 16(b) and (c).

         None.

         9.      Any other matters relevant to the status and disposition of this case.

         The parties do not have any other particular matters relevant to the status and

disposition of this case except to the extent the Court requires additional discussion

relating to the proposed stay. Furthermore, the Parties ask the Court to set a schedule

now incorporating the timing of the stay to establish efficiency in this case moving

forward when/if the stay is lifted and to eliminate the need to address it later with the

Court.




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Dated this   _lQ_ day of December, 2018.




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                             CERTIFICATE OF SERVICE

      I hereby certify that on this lE_ day of December, 2018, I filed the foregoing
document with the Clerk of the Court for the U.S. District Court for the Northern District
of Texas via hand-delivery and served a copy of the document to all counsel of record
via email transmission pursuant to the Federal Rules of Civil Procedure:

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